Case:22-11059-JGR Doc#:36 Filed:05/18/22                    Entered:05/18/22 15:53:14 Page1 of 3




                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

In re:                                                  )
                                                        )       Case No. 22-11059
Blueprint Investment Fund, LLC                          )       Chapter 11
                                                        )
                                                        )
         Debtor                                         )


    MOTION FOR ONE-DAY EXTENSION TO FILE RESPONSE TO MOTION FOR
   ENTRY OF ORDER APPROVING DEBTOR-IN POSSESSION FINANCING FROM
                        LEGALIST DIP GP, LLC


       Builders Capital Opportunity Fund, LLC (“Lender”), through its undersigned counsel,
hereby moves the Court for entry of an order for a one-day extension for Lender to file a
response to Debtors Motion for Entry of Order Approving Debtor-In Possession Financing from
Legalist DIP GP, LLC (the “DIP Motion”).

         In support hereof, Lender states as follows:

        1.       Lender is the primary secured lender of Debtor with a perfected lien on all or
substantially all of the Debtor’s asset, principally, Debtors real property.

       2.         Objections to the DIP Motion are due today, May 18, 2022 (the “Objection
Deadline”).

       3.     On May 17, 2022, Debtor filed a Supplement to the Motion consisting of the
proposed DIP Loan Agreement.

        4.      Counsel and Lender seek a one-day extension to the objection deadline to have
the opportunity to meaningfully review and discuss the proposed DIP Loan Agreement and
confirm that, as represented by Debtor, Lender’s secured debt will be paid contemporaneously
with the closing under the DIP Loan Agreement.

         5.       Debtor consents to this one-day extension.

         6.       No party will be prejudiced by this extension.
Case:22-11059-JGR Doc#:36 Filed:05/18/22       Entered:05/18/22 15:53:14 Page2 of 3




      WHEREFORE, Lender requests entry of an order extending the Objection Deadline to
May 19, 2022, and for such other relief as is consistent with the foregoing.



         DATED: May 18, 202.

                                       OTTESON SHAPIRO LLP

                                       By:    /s/ Duncan E. Barber
                                              Stephen B. Shapiro, #13464
                                              Duncan E. Barber, #16768
                                              7979 E. Tufts Avenue, Suite 1600
                                              Denver, CO 80237
                                              Tel: (720) 488-0220
                                              Fax: (720) 488-7711
                                              E-mail: sbs@os.law
                                                      dbarber@os.law

                                              Counsel for Builders Capital
                                              Opportunity Fund, LLC




                                          2
715393
Case:22-11059-JGR Doc#:36 Filed:05/18/22          Entered:05/18/22 15:53:14 Page3 of 3




                              CERTIFICATE OF SERVICE

        The undersigned certifies that on May 18, 2022, that a true and correct copy of the
MOTION FOR ONE-DAY EXTENSION TO FILE RESPONSE TO MOTION FOR
ENTRY OF ORDER APPROVING DEBTOR-IN POSSESSION FINANCING FROM
LEGALIST DIP GP, LLC was electronically filed using the CM/ECF system, which will send
notification electronically to all parties.




                                          /s/ Laura Winant
                                          Laura Winant, Legal Assistant




                                             3
715393
